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How does Castano
and Joseph not
look at the DDM
title docs and the
KSI loan docs to
show Jowdy and
Harvey stole the
investor money            Harvey complicit in
and never                 Jowdy frauds from
transfered title to       September 2002
an investor               letter to Nolan and
entity...??               other initial
                          investors until
                          present...
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                                                                     Jowdy steals
                                                                     $100,000 from
                                                                     investors for his
                                                                     personal
                                                                     contribution to the
                                                                     first Mexico
                                                                     project...




                                                              Najam and Jowdy
                                                              divert $350,000 of
                                                              development funds
                                                              to themselves
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                                              Jowdy's money
                                              laundering
                                              company --
                                              explained by
                                              Kenner in June
                                              2009 proffer to FBI
                                              Agent Galioto
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                                                                      With Kenner and
                                                                      Woolley money --
                                                                      this was the first
                                                                      funds that Jowdy
                                                                      stole in August
                                                                      2002 from the
                                                                      Mexico investors
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                                       This is the
                                       personal bank
                                       account of Jowdy
                                       that he used to
                                       STEAL $75,000
                                       within a few days
                                       of the initial
                                       investments in
                                       Mexico by Kenner,
                                       Woolley and
                                       Khristich




                                                     This is a lie with Jowdy
                                                     laundering funds with Najam's
                                                     help to create the illusion of a
                                                     $100,000 Jowdy investment...
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                                                            Were the Jowdy
                                                            THEFTS "OK" --
                                                            since he "booked
                                                            the money (years
                                                            after being caught)
                                                            as loans on his
                                                            2008 company
                                                            books??
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                                                               More acknowledged loaned
                                                               funds from Kenner personally
                                                               and/or Hawaii LLCs -- despite
                                                               Galioto's post-trial LIEs to the
                                                               investors




                                                 Jowdy admits to the FBI that he took
                                                 money from Hawaii as loans -- despite
                                                 his contrarian defense positions in
                                                 Mexico and AZ cases (2008-09) --
                                                 BUT -- now with the FBI aware of the
                                                 frauds on the courts...they do nothing!!
                                            HUSH MONEY -- Jowdy paid to
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                                     34892 dissuade from testifying in Federal
                                            Case v. Roger Clemens -- See Baja
                                            Development Corp (Jowdy) August
                                            2006 bank records




                                              Money from PK
                                              (personally) and
                                              players




                                       Jowdy use DDM funds to pay off
                                       Clemens mistress before she died




                                 Since the 2015 conviction -- Galioto has used every opportunity
                                 to tell the Kenner investors that Kenner has NO MONEY in any
                                 investment -- despite the Jowdy confessions (within) and the
                                 millions documented in the numerous bank records for Hawaii,
                                 Mexico, all renovation projects, "Grocery list loans", Gaarn
                                 loans, Kaiser loans, etcetera -- creating fully slanderous
                                 prejudice from all remaining supporters -- culminating in the
                                 Jowdy settlement discussions -- with no faith in the real Kenner
                                 documented truths...
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                                                                                     DDM bank statements
                                                                                     confirm the money was
                                                                                     STOLEN by Jowdy and
                                                                                     Najam within 3 months.
                                                                                     Then they began
                                                                                     STEALING the DCSL
                                                                                     budget funds (about
                                                                                     $1.25mm in the second
                                                                                     half of 2006) -- MORE
   Jowdy, Najam and
                                                                                     IGNORED FRAUDS by
   Essa looted over
                                                                                     the FBI...
   $800k of the loan
   funds personally
   within 2 months --
   the DDM bank
   records CONFIRM
   the THEFTS as
   Kenner proffered in
   June 2009 to FBI
   Agent Galioto...




The GROSSEST of the Jowdy and cabal thefts from Kenner and Kenner investors occurred AFTER
Jowdy's attorney, Tom Harvey, issued letters to Kenner and the investors that their original (2002-2005)
investments in Mexico (Diamante del Mar) project. ONE -- The liens were NEVER placed on the
property -- despite Jowdy and the Mexico Attorney (Fernando Garcia) signing docs in front of Kenner in
the Ensenada Mexico Notario office (court house) in 2003. Obviously FAKE. SECOND -- and perhaps
more gross THEFT -- Jowdy and his attorneys NEVER titled the Diamante del Mar project in an entity
that any Kenner investors had an interest in. This was discovered in 2015 when the KSI loan package
was received in government produced evidence. The property was always titled in several Mexico
companies exclusively owned by Jowdy and Garcia (Ex. 1144). That was $10 million of further
IGNORED fraud (by the FBI) -- especially if it was that OBVIOUS to Kenner with a simple review of the
concealed 2006 loan that Jowdy and Najam looted the proceeds for their personal benefits...
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                                                                How could this be true --
                                                                since as history revealed
                                                                Jowdy's $3mm KSI loan in
                                                                Feb 2006 that Najam and he
                                                                looted and then left for
                                                                foreclosure -- with ZERO loss
                                                                to Jowdy and Najam since
                                                                they had diverted millions
                                                                from 2002 thru 2006
                                                                already...
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                                    Gov't aware of "Nick" lawsuit when
                                    they falsely claimed "Kick Nick in
                                    the balls" was Nick Privitello on the
                                    day of the Nick James deposition...




        Jowdy and Harvey                                    How would Jowdy
        spread this false                                   and his people
        claim in 2008 to all                                know who Kenner
        Kenner investors --                                 was getting his
        and others in the                                   personal loan from
        sports industry -- to                               -- unless they were
        disrupt the                                         being fed info from
        cohesive efforts                                    the FBI??
        versus Jowdy..
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